        Case 1:22-cv-00171-MAB Document 14         Filed 08/08/22   Page 1 of 3

                                                                              Form 24-1


 UNITED STATES COURT OF INTERNATIONAL TRADE                                 FORM 24



 NUCOR CORPORATION,

                         Plaintiff,               Before: Hon. Mark A. Barnett
                v.                                        Chief Judge

 UNITED STATES,                                   Court No. 22-00171


                       Defendant.


              ORDER FOR STATUTORY INJUNCTION UPON CONSENT

       Pursuant to 19 U.S.C. § 1516a(c)(2), this Court may enjoin the liquidation of all

entries of merchandise identified below;

       The parties in this action agree that, as required by 19 U.S.C. § 1516a(c)(2), a

proper showing has been made that the requested injunctive relief should be granted

under the circumstances;

       Accordingly, it is hereby

       ORDERED that Defendant, United States, together with its delegates, officers,

agents, and servants, including employees of U.S. Customs and Border Protection and

the U.S. Department of Commerce, is enjoined during the pendency of this litigation,

including any appeals, from issuing instructions to liquidate or making or permitting

liquidation of any unliquidated entries of
        Case 1:22-cv-00171-MAB Document 14             Filed 08/08/22    Page 2 of 3

                                                                                  Form 24-2


Certain Hot-Rolled Steel Flat Products                                                        ;
                                    [insert Product]

from the Republic of Korea                                                                    ;
                                     [insert Country]

(1)   That were: (Add additional lines as needed)

       produced by
                                             [Company Name]
       exported by
                                             [Company Name]
       produced by                                                                     and
                                             [Company Name]
          exported by
                                             [Company Name]
       produced and exported by
                                            [Company Name]
       produced and/or exported by      Hyundai Steel Company
                                            [Company Name]
       produced and/or exported by      POSCO
                                            [Company Name]
       produced by                                                                     and
                                             [Company Name]
          imported by                                                                         ;
                                             [Company Name]

(2)   That were the subject of the United States Department of Commerce’s final

      determination in Certain Hot-Rolled Steel Flat Products From the Republic of

      Korea, 87 Fed. Reg. 27,570 (Dep’t Commerce May 9, 2022) (final results of

      countervailing duty admin. rev.)

                           [insert title, volume, page and date of FR Notice]

(3)   That were entered, or withdrawn from warehouse, for consumption, during
       the period         01/01/2019             through          12/31/2019            ;
                        [Date]                                  [Date]
         Case 1:22-cv-00171-MAB Document 14          Filed 08/08/22   Page 3 of 3

                                                                                Form 24-3


and it is further

       ORDERED that the entries subject to this injunction shall be liquidated in

accordance with the final court decision in this action, including all appeals and remand

proceedings, as provided in 19 U.S.C. § 1516a(e); and it is further

       ORDERED that any entries inadvertently liquidated after this order is signed but

before this injunction is fully implemented by U.S. Customs and Border Protection shall be

promptly returned to unliquidated status and suspended in accordance with this injunction.



DATED: ____________________________               ____________________________
             New York, New York                    Hon. Mark A. Barnett, Chief Judge


(Added Sept.19, 2017, eff. Oct. 23, 2017; amended June 18, 2019, eff. July 1, 2019.)
